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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

LEATHERMAN TOOL GROUP, INC.,
                                                          Case No. 25-cv-04961
                           Plaintiff,

          v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”

                           Defendants.


                                            COMPLAINT

          Plaintiff Leatherman Tool Group, Inc. (“Plaintiff” or “Leatherman”) hereby brings the

present action against the Partnerships and Unincorporated Associations identified on Schedule A

attached hereto (collectively, “Defendants”) and alleges as follows:

                                 I.     JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331.

          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores 1 operating under the seller aliases identified in

Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to

Illinois residents by setting up and operating e-commerce stores that target United States


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    The e-commerce store URLs are listed on Schedule A hereto under the Online Marketplaces.
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consumers using one or more Seller Aliases, offer shipping to the United States, including Illinois,

accept payment in U.S. dollars and/or funds from U.S. bank accounts and, on information and

belief, have sold products using infringing and counterfeit versions of Plaintiff’s federally

registered trademarks to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                     II.   INTRODUCTION

        3.      This action has been filed by Plaintiff to combat e-commerce store operators who

trade upon Plaintiff’s reputation and goodwill by offering for sale and/or selling unauthorized and

unlicensed products, including multi-tools, shears, and knives using infringing and counterfeit

versions of Plaintiff’s federally registered trademarks (the “Counterfeit Products”). Defendants

create e-commerce stores operating under one or more Seller Aliases that are advertising, offering

for sale, and selling Counterfeit Products to unknowing consumers. E-commerce stores operating

under the Seller Aliases share unique identifiers, establishing a logical relationship between them

and that Defendants’ counterfeiting operation arises out of the same transaction, occurrence, or

series of transactions or occurrences. Defendants attempt to avoid and mitigate liability by

operating under one or more Seller Aliases to conceal both their identities and the full scope and

interworking of their counterfeiting operation. Plaintiff is forced to file this action to combat

Defendants’ counterfeiting of its registered trademarks, as well as to protect unknowing consumers

from purchasing Counterfeit Products over the Internet. Plaintiff has been and continues to be

irreparably damaged through consumer confusion, dilution, and tarnishment of its valuable

trademarks as a result of Defendants’ actions and seeks injunctive and monetary relief.




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                                       III. THE PARTIES

Plaintiff

       4.       Plaintiff is a privately held corporation organized and existing under the laws of the

State of Oregon, having its principal place of business at 12106 NE Ainsworth Circle, Portland,

Oregon 97220.

       5.       Leatherman is an American brand of multi-tools, shears, and knives founded in

1983 that is committed to bringing consumers high-quality products to help solve expected and

unexpected problems in everyday life (collectively, the “Leatherman Products”).

       6.       Leatherman has become a global success and is known as the originator and world’s

leading manufacturer of high-quality multi-tools. Plaintiff currently sells fifty (50) Leatherman

Products in approximately eighty (80) countries and employs over five hundred (500) full-time

employees.

       7.       The Leatherman brand is a multi-million-dollar brand, and Plaintiff spends

considerable resources marketing and protecting it.

       8.       Plaintiff is the owner of numerous trademarks including LEATHERMAN and

RAPTOR. Plaintiff has continuously sold Leatherman Products under its trademarks for many

years. As a result of its long-standing use, Plaintiff owns common law trademark rights in its

trademarks. Plaintiff has built substantial goodwill in and to its trademarks. In addition to common

law trademark rights, Plaintiff has registered several of its trademarks with the United States Patent

and Trademark Office. Leatherman Products typically include at least one of Plaintiff’s registered

trademarks. Plaintiff uses its trademarks in connection with the marketing of its Leatherman

Products, including the following non-exclusive list of federally registered trademarks which are

collectively referred to as the “LEATHERMAN Trademarks.”


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       Registration Numbers                                 Trademark
             1,325,473
             2,596,689                                   LEATHERMAN
             3,486,021
             6,013,394                                LEATHERMAN FREE
             4,437,372                                     RAPTOR
             3,103,657                                BLADE LAUNCHER
             6,449,806                                      BOND
             6,540,579                                       CURL
             2,856,896                                     CHARGE
             2,371,715                                     CRUNCH
             3,558,892                                     CRATER
             5,776,732                                       FREE
             3,788,508                                       MUT
             2,076,429                                      MICRA
             4,255,186                                       OHT
             4,749,246                                        REV
             4,234,740                                      REBAR
             4,847,119                                     SIGNAL
             3,449,268                                      SURGE
             3,854,637                                      STYLE
             4,074,915                                    SIDEKICK
             3,415,438                                   SKELETOOL
             2,440,250                                   SUPER TOOL
             2,222,490                                      WAVE
             4,039,772                                    WINGMAN
             5,783,288




       9.      The above U.S. registrations for the LEATHERMAN Trademarks are valid,

subsisting, in full force and effect, and many are incontestable pursuant to 15 U.S.C. § 1065. The

registrations for the LEATHERMAN Trademarks constitute prima facie evidence of their validity

and of Plaintiff’s exclusive right to use the LEATHERMAN Trademarks pursuant to 15 U.S.C. §

1057(b). The LEATHERMAN Trademarks have been used exclusively and continuously by

Plaintiff for many years and have never been abandoned. True and correct copies of the United

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States Registration Certificates for the above-listed LEATHERMAN Trademarks are attached

hereto as Exhibit 1.

       10.     The LEATHERMAN Trademarks are distinctive when applied to the Leatherman

Products, signifying to consumers that the products originate from Plaintiff and are manufactured

to Plaintiff’s high-quality standards. Plaintiff has ensured that products bearing its

LEATHERMAN Trademarks are manufactured to the highest quality standards.

       11.     The LEATHERMAN Trademarks are famous marks, as that term is used in 15

U.S.C. § 1125(c)(1). The innovative marketing and product designs of the Leatherman Products

have enabled the Leatherman brand to achieve widespread recognition and fame and have made

the LEATHERMAN Trademarks some of the most well-known marks in the industry. The

widespread fame, outstanding reputation, and significant goodwill associated with the Leatherman

brand have made the LEATHERMAN Trademarks valuable assets of Plaintiff.

       12.     Plaintiff has expended substantial time, money, and other resources in developing,

advertising and otherwise promoting the LEATHERMAN Trademarks. In fact, Plaintiff has

expended millions of dollars annually in advertising, promoting, and marketing featuring the

LEATHERMAN Trademarks. Leatherman Products have also been the subject of extensive

unsolicited publicity resulting from their high quality, performance, and innovative design. As a

result, products bearing the LEATHERMAN Trademarks are widely recognized and exclusively

associated by consumers, the public, and the trade as being high-quality products sourced from

Plaintiff. Leatherman Products have become among the most popular of their kind in the U.S. and

the world. The LEATHERMAN Trademarks have achieved tremendous fame and recognition

which has only added to the distinctiveness of the marks. As such, the goodwill associated with

the LEATHERMAN Trademarks is of incalculable and inestimable value to Plaintiff.


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       13.     Leatherman Products are sold to consumers online via the leatherman.com website,

the company operated Amazon.com storefront, and through authorized retailers, including in

Illinois. Sales of Leatherman Products via the leatherman.com website are significant. The

leatherman.com website features proprietary content, images, and designs exclusive to the

Leatherman brand.

The Defendants

       14.     Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified on

Schedule A and/or other seller aliases not yet known to Plaintiff. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions

with lax trademark enforcement systems or redistribute products from the same or similar sources

in those locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil

Procedure 17(b).

       15.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Plaintiff to discover Defendants’ true identities and the exact interworking of their

counterfeit network.    If Defendants provide additional credible information regarding their

identities, Plaintiff will take appropriate steps to amend the Complaint.




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                         IV. DEFENDANTS’ UNLAWFUL CONDUCT

        16.     The success of the Letherman brand has resulted in significant counterfeiting of the

LEATHERMAN Trademarks. In recent years, Plaintiff has identified many fully interactive, e-

commerce stores offering Counterfeit Products on online marketplace platforms such as PayPal,

Amazon, and Walmart, including the e-commerce stores operating under the Seller Aliases. The

Seller Aliases target consumers in this Judicial District and throughout the United States.

According to a U.S. Customs and Border Protection (CBP) report, in 2021, CBP made over 27,000

seizures of goods with intellectual property rights (IPR) violations totaling over $3.3 billion, an

increase of $2.0 billion from 2020.2 Of the 27,000 in total IPR seizures, over 24,000 came through

international mail and express courier services (as opposed to containers), most of which

originated from China and Hong Kong.3

        17.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.”4 Counterfeiters hedge against the risk of being caught and having their websites taken

down from an e-commerce platform by preemptively establishing multiple virtual store-fronts. 5

Since platforms generally do not require a seller on a third-party marketplace to identify the

underlying business entity, counterfeiters can have many different profiles that can appear



2
  See Intellectual Property Rights Seizure Statistics, Fiscal Year 2021, U.S. Customs and Border Protection.
3
  Id.
4
  See Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of the Internet, 40 NW. J. INT’L
L. & BUS. 157, 186 (2020); see also report on “Combating Trafficking in Counterfeit and Pirated Goods”
prepared by the U.S. Department of Homeland Security’s Office of Strategy, Policy, and Plans (Jan. 24,
2020), and finding that on “at least some e-commerce platforms, little identifying information is necessary
for a counterfeiter to begin selling” and recommending that “[s]ignificantly enhanced vetting of third-party
sellers” is necessary.
5
  Id. at p. 22.
                                                        7
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unrelated even though they are commonly owned and operated. 6 Further, “E-commerce platforms

create bureaucratic or technical hurdles in helping brand owners to locate or identify sources of

counterfeits and counterfeiters.”7

          18.     Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and/or funds from

U.S. bank accounts and, on information and belief, have sold Counterfeit Products to residents of

Illinois.

          19.     Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing the e-commerce

stores operating under the Seller Aliases so that they appear to unknowing consumers to be

authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating under the

Seller Aliases look sophisticated and accept payment in U.S. dollars and/or funds from U.S. bank

accounts via credit cards, Amazon Pay, and/or PayPal. E-commerce stores operating under the

Seller Aliases often include content and images that make it very difficult for consumers to

distinguish such stores from an authorized retailer. Plaintiff has not licensed or authorized

Defendants to use any of its LEATHERMAN Trademarks, and none of the Defendants are

authorized retailers of genuine Leatherman Products.

          20.     Many     Defendants   also   deceive   unknowing     consumers    by   using   the

LEATHERMAN Trademarks without authorization within the content, text, and/or meta tags of

their e-commerce stores to attract various search engines crawling the Internet looking for websites




6
    Id. at p. 39.
7
    Chow, supra note 4, at p. 186-87.
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relevant to consumer searches for Leatherman Products. Other e-commerce stores operating under

the Seller Aliases omit using LEATHERMAN Trademarks in the item title to evade enforcement

efforts while using strategic item titles and descriptions that will trigger their listings when

consumers are searching for Leatherman Products.

       21.      E-commerce store operators like Defendants commonly engage in fraudulent

conduct when registering the Seller Aliases by providing false, misleading, and/or incomplete

information to e-commerce platforms to prevent discovery of their true identities and the scope of

their e-commerce operation.

       22.     E-commerce store operators like Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Counterfeit Products. Such seller alias

registration patterns are one of many common tactics used by e-commerce store operators like

Defendants to conceal their identities and the full scope and interworking of their counterfeiting

operation, and to avoid being shut down.

       23.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other seller aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same registration

patterns, accepted payment methods, check-out methods, keywords, advertising tactics,

similarities in price and quantities, the same incorrect grammar and misspellings, and/or the use of

the same text and images. Additionally, Counterfeit Products for sale by the Seller Aliases bear

similar irregularities and indicia of being counterfeit to one another, suggesting that the Counterfeit




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Products were manufactured by and come from a common source and that Defendants are

interrelated.

        24.     E-commerce store operators like Defendants are in constant communication with

each other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn and kuajingvs.com regarding tactics for operating multiple accounts, evading

detection, pending litigation, and potential new lawsuits.

        25.     Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation in spite of Plaintiff’s enforcement. E-

commerce store operators like Defendants maintain off-shore bank accounts and regularly move

funds from their financial accounts to off-shore accounts outside the jurisdiction of this Court to

avoid payment of any monetary judgment awarded to Plaintiff. Indeed, analysis of financial

account transaction logs from previous similar cases indicates that off-shore counterfeiters

regularly move funds from U.S.-based financial accounts to off-shore accounts outside the

jurisdiction of this Court.

        26.     Defendants are working to knowingly and willfully import, distribute, offer for sale,

and sell Counterfeit Products in the same transaction, occurrence, or series of transactions or

occurrences. Defendants, without any authorization or license from Plaintiff, have knowingly and

willfully used and continue to use the LEATHERMAN Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Products into the United

States and Illinois over the Internet.

        27.     Defendants’ unauthorized use of the LEATHERMAN Trademarks in connection

with the advertising, distribution, offering for sale, and sale of Counterfeit Products, including the

sale of Counterfeit Products into the United States, including Illinois, is likely to cause and has


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caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.

                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

          28.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

          29.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered

LEATHERMAN Trademarks in connection with the sale, offering for sale, distribution, and/or

advertising of infringing goods. The LEATHERMAN Trademarks are highly distinctive marks.

Consumers have come to expect the highest quality from Leatherman Products offered, sold, or

marketed under the LEATHERMAN Trademarks.

          30.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the LEATHERMAN Trademarks without Plaintiff’s permission.

          31.     Plaintiff is the exclusive owner of the LEATHERMAN Trademarks. Plaintiff’s

United States Registrations for the LEATHERMAN Trademarks (Exhibit 1) are in full force and

effect.      On information and belief, Defendants have knowledge of Plaintiff’s rights in the

LEATHERMAN Trademarks and are willfully infringing and intentionally using counterfeits of

the LEATHERMAN Trademarks. Defendants’ willful, intentional, and unauthorized use of the

LEATHERMAN Trademarks is likely to cause and is causing confusion, mistake, and deception

as to the origin and quality of the Counterfeit Products among the general public.

          32.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

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       33.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its well-

known LEATHERMAN Trademarks.

       34.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of Counterfeit Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       35.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       36.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Products has created and is creating a likelihood of confusion, mistake, and deception among the

general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ Counterfeit Products by Plaintiff.

       37.     By using the LEATHERMAN Trademarks in connection with the Counterfeit

Products, Defendants create a false designation of origin and a misleading representation of fact

as to the origin and sponsorship of the Counterfeit Products.

       38.     Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Counterfeit Products to the general public involves the use of counterfeit

marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       39.     Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

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1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under, or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the LEATHERMAN Trademarks or any reproductions, counterfeit copies, or

           colorable imitations thereof in any manner in connection with the distribution,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine

           Leatherman Product or is not authorized by Plaintiff to be sold in connection with the

           LEATHERMAN Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           Leatherman Product or any other product produced by Plaintiff that is not Plaintiff’s or

           not produced under the authorization, control, or supervision of Plaintiff and approved

           by Plaintiff for sale under the LEATHERMAN Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           Counterfeit Products are those sold under the authorization, control, or supervision of

           Plaintiff, or are sponsored by, approved by, or otherwise connected with Plaintiff;

       d. further infringing the LEATHERMAN Trademarks and damaging Plaintiff’s goodwill;

           and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale, and which bear any of Plaintiff’s trademarks, including the

           LEATHERMAN Trademarks, or any reproductions, counterfeit copies, or colorable

           imitations thereof;


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2) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as PayPal, Amazon, and Walmart,

   (collectively, the “Third Party Providers”) shall disable and cease displaying any

   advertisements used by or associated with Defendants in connection with the sale of counterfeit

   and infringing goods using the LEATHERMAN Trademarks;

3) That Defendants account for and pay to Plaintiff all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement

   of the LEATHERMAN Trademarks be increased by a sum not exceeding three times the

   amount thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that Plaintiff be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   LEATHERMAN Trademarks;

5) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

6) Award any and all other relief that this Court deems just and proper.




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Dated this 6th day of May 2025.       Respectfully submitted,

                                      /s/ Justin R. Gaudio
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